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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :                                       4/27/2020
UNITED STATES OF AMERICA,                                              :
                                                                       :
                  -v-                                                  :                  17 Cr. 248 (VSB)
                                                                       :
RICHARD D. HART,                                                       :              SEALED OPINION &
       a/k/a “Rick Hart,”                                              :                   ORDER
                                                                       :
                                      Defendant.                       :
                                                                       :
---------------------------------------------------------------------- X


VERNON S. BRODERICK, United States District Judge:

           Before me is the motion of Richard D. Hart (“Defendant” or “Hart”) “pursuant to 18

U.S.C. § 3582 (c)(1)(A) to modify [his] term of imprisonment to time served and to impose a

special condition that [he] serve a period of home confinement on supervised release” based

upon changed circumstances related to the care of his son, health conditions that he has allegedly

developed since his incarceration, and the COVID-19 1 pandemic. (Hart Mot. 1.) 2 Because Hart

has not exhausted his administrative remedies and he provides no legal authority for his release

on bail pending my decision on his motion, Defendant’s motion for compassionate release is

denied without prejudice.

                    Background and Procedural History 3

           From 2009 to July 2015, Michael Mendlowitz and Richard Hart, as executives of


1
 “COVID-19” refers to the coronavirus disease 2019. See generally Coronavirus Disease 2019 (COVID-19),
Frequently Asked Questions, Centers for Disease Control and Prevention (updated Apr. 17, 2020),
https://www.cdc.gov/coronavirus/2019-ncov/faq.html.
2
    “Hart Mot.” refers to Defendant Richard Hart’s Motion to Modify Sentence, submitted by e-mail on April 2, 2020.
3
 The facts contained in this section are taken from the allegations in the Sealed Indictment filed in this case on April
24, 2017 (“Indictment”). (Doc. 2.) These facts are merely provided for background, and I do not rely upon them in
deciding Defendant’s motion.
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Commerce Payment Group LLC (“CPS”)—a credit card processing company—defrauded CPS

customers, including small merchants who accepted credit cards and debit cards at their

businesses. (Indictment ¶ 2.) Mendlowitz was the president and chief executive officer (“CEO”)

of CPS, and a minority owner of a twenty percent share of the company. (Id. ¶ 12.) Hart held

various executive titles at the company until the termination of his employment in February

2015. For most of his time at CPS, Hart supervised the majority of CPS’s sales representatives,

and “held himself out at times as an executive of CPS and its various corporate affiliates.” (Id.

¶ 13.)

         The Indictment alleges that Mendlowitz and Hart used CPS’s marketing and sales staff to

falsely represent to prospective customers that they could obtain bankcard-processing services at

rates below those of CPS’s competitors, with no hidden fees or extra charges, and with

guarantees that the rates would never change. For his part, Hart “developed and wrote false and

fraudulent scripts and training materials to be used by sales representatives and instructed sales

representatives to make specific misrepresentations to potential merchant-customers about

particular fees and other terms of service,” and “prepared marketing materials.” Hart also

“participated in fraudulent sales calls, and distributed recordings of those calls to sales

representatives, as instructional models on how to conduct sales calls with potential merchant-

customers.” (Id. ¶ 14.)

         On April 24, 2017, the Government filed the Indictment, (Doc. 2), which spanned some

twenty-nine pages and charged Mendlowitz and Hart with conspiracy to commit mail and wire

fraud, mail fraud, and wire fraud. On January 10, 2019, Defendant Hart pled guilty to the charge

of conspiracy to commit mail fraud and wire fraud from at least in or about December 2011 until

approximately July 2015, contained in a superseding information. (See Doc. 86.) Defendant was




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sentenced to a year and a day on July 17, 2019, (Doc. 248), and he self-surrendered on October

11, 2019 to the Metropolitan Detention Center (the “MDC”) in Brooklyn, New York, (Hart Mot.

¶ 2). Hart’s release date listed on the Federal Bureau of Prisons (the “BOP”) inmate locator

system is August 17, 2020. Federal Bureau of Prisons, Find an inmate,

https://www.bop.gov/inmateloc/ (search for 79059-054) (last visited Apr. 18, 2020).

         On March 30, 2020, Defendant’s attorney “transmitted [] Hart’s request to the warden of

MDC via email.” (Hart Mot. ¶ 15.) The Warden at MDC was expected to receive the email,

(Govt. Opp. 5) 4; defense counsel received an email from BOP stating “[y]our email has been

forwarded to the appropriate department,’” (Def. 4/3 Ltr. 1) 5; and BOP “currently intends to

review [] [Hart’s] motion as soon as possible” and hopes to do so “within 30 days,” (Govt. Opp.

5). However, BOP has apparently not formulated a position with regard to Hart’s request for

compassionate release. (Id.)

         Defendant’s motion for compassionate release, pursuant to 18 U.S.C. § 3582 (c)(1)(A),

was submitted by e-mail on April 2, 2020, and included two exhibits. By Order dated April 3,

2020, I (1) directed the Government to file its opposition by 5 p.m. Friday, April 3, 2020; (2)

requested that the Government address the issue of exhaustion; (3) asked the parties to “contact

the appropriate authorities at the MDC and/or the BOP concerning whether or not they intend to

and/or have the capacity to respond within 30 days to Defendant’s motion and/or whether they

have formulated a position with regard to Defendant’s motion”; and (4) asked the parties to

inform me of the results of their discussion(s) with prison officials by 5 p.m. Friday, April 3,


4
 “Govt. Opp.” refers to the Government’s letter in opposition to Defendant’s motion, filed on April 3, 2020. (Doc.
248.)
5
 “Def. 4/3 Ltr.” refers to the Defendant’s letter dated April 3, 2020, in response to my April 3, 2020 Order. (Doc.
249.)




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2020. (Doc. 247.) 6 The Government filed its opposition and response to my Order on April 3,

2020, (Govt. Opp.), and Defendant filed his response to my Order on that same day, (Def. 4/3

Ltr.). Along with his letter, Defendant also submitted by e-mail, “for purposes of

confidentiality,” a photocopy of the box containing his asthma inhaler, a letter from his wife’s

employer, and the death certificate for Defendant’s wife’s brother-in-law. Defendant submitted a

reply to the Government’s opposition on April 10, 2020. (Reply, Doc. 250.) 7

                  Discussion

         Defendant seeks compassionate release “pursuant to 18 U.S.C. § 3582 (c)(1)(A) to

modify [his] term of imprisonment to time served and to impose a special condition that [he]

serve a period of home confinement on supervised release.” (Hart Mot. 1.) Defendant argues

that he is entitled to be released because: (1) of the COVID-19 pandemic; (2) “he suffers from a

number of serious medical problems, including high blood pressure and asthma,” and as a result

he “is in the high-risk category of individuals who face grave health consequences or death from

exposure to COVID-19,” (id. ¶¶ 5–14); and (3) of changed circumstances related to the care of

his son, including loss of Defendant’s wife’s sister as a caregiver for Defendant’s son, (id. ¶¶ 19–

20). Defendant further argues in his reply that the language of the First Step Act (“FSA”) does

not create a mandatory administrative exhaustion requirement and is therefore subject to

exceptions. (Reply 1–5.) In opposition, the Government argues that: (1) Defendant has not

complied with the statutory exhaustion requirements; and (2) the motion does not establish

compelling or extraordinary reasons warranting a reduction in Defendant’s sentence and his




6
 I also directed Hart to file his initial motion papers on the docket, or to seek permission to file a redacted version of
his motion. To date, Hart’s moving papers have not been filed on the docket.
7
  “Reply” refers to Defendant’s letter dated April 10, 2020, submitted in response to the Government’s opposition
letter. (Doc. 250.)



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release. (Govt. Opp. 1–5.) I find that because Defendant has not exhausted his administrative

remedies, his motion must be dismissed at this time. I also find that Defendant has not

sufficiently established extraordinary and compelling reasons warranting a reduction in his

sentence and his release. However, because Defendant claims to have asthma and high blood

pressure which, if sufficiently substantiated, could place him at an increased risk of serious

health should he contract COVID-19, see Groups at Higher Risk for Severe Illness, Centers for

Disease Control and Prevention (last reviewed Apr. 17, 2020),

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-risk.html,

if he renews his motion, he and the Government are directed to answer the following questions in

their submissions: (1) when was Defendant first diagnosed with asthma?; (2) when was he first

diagnosed with high blood pressure?; (3) what is believed to be the cause of his high blood

pressure, if any?; (4) what medication(s), if any, has he been prescribed to treat the asthma?; (5)

what medication(s), if any, has he been prescribed to treat the high blood pressure?; (6) if he has

been prescribed medications to treat the asthma and high blood pressure, when were those

medications first prescribed?; (7) does the BOP agree Defendant suffers from asthma and/or high

blood pressure?; (8) is the BOP providing prescription medication to Defendant for asthma, high

blood pressure, or any other health condition?; and (9) does having high blood pressure alone

place individuals in Defendant’s age group at higher risk of serious illness or death from

COVID-19?.

               A.      Applicable Law

       “A court may not modify a term of imprisonment once it has been imposed except

pursuant to statute.” United States v. Gotti, — F. Supp. 3d —, No. 02 CR 743-07 (CM), 2020

WL 497987, at *1 (S.D.N.Y. Jan. 15, 2020). Section 3582(c)(1)(A)(i), the compassionate release




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statute, provides one such exception. The compassionate release statute permits a court to

“reduce” a term of imprisonment, after considering the factors set forth in 18 U.S.C. § 3553(a), if

“it finds that . . . extraordinary and compelling reasons warrant such a reduction . . . and that such

a reduction is consistent with applicable policy statements issued by the Sentencing

Commission.” 8 18 U.S.C. § 3582(c)(1)(A).

        Until recently, a court could not order compassionate release unless the BOP requested

such relief on a prisoner’s behalf. See U.S.S.G. § 1B1.13; see also Gotti, 2020 WL 497987, at

*1. However, in December 2018, Congress passed the First Step Act, which did away with

BOP’s unilateral ability to deny a prisoner compassionate release but did not remove the BOP

from the process entirely. See id. The statute is clear that a court may only grant compassionate

release “upon motion of the Director of the Bureau of Prisons, or upon motion of the defendant

after the defendant has fully exhausted all administrative rights to appeal a failure of the Bureau

of Prisons to bring a motion on the defendant’s behalf or the lapse of 30 days from the receipt of

such a request by the warden of the defendant’s facility, whichever is earlier.” 18 U.S.C.

§ 3582(c)(1)(A).

        Requiring inmates to exhaust their administrative remedies before seeking court



8
  The relevant Sentencing Commission policy statement is found in U.S.S.G. § 1B1.13, although I note that the
Sentencing Guidelines have not yet been revised to take into account the First Step Act. United States v. Russo, No.
16-CR-441 (LJL), 2020 WL 1862294, *2 (S.D.N.Y. Apr. 3, 2020). The relevant section provides that a court may
reduce the term of imprisonment if (1) “extraordinary and compelling reasons warrant the reduction,” id. §
1B1.13(1)(A); (2) “the Defendant is not a danger to the safety of any other person or to the community, as provided
in 18 U.S.C. § 3142(g),” id. § 1B1.13(2); and (3) “the reduction is consistent with this policy statement,” id. §
1B1.13(3). The Application Notes describe the circumstances under which “extraordinary and compelling reasons
exist.” Id. § 1B1.13 Application Note 1. Further, Defendant, as proponent of the motion, bears the burden of
proving that extraordinary and compelling reasons exist. United States v. Ebbers, No. (S4) 02-CR-1144-3 (VEC),
2020 WL 91399, at *4 (S.D.N.Y. Jan. 8, 2020) (citing United States v. Butler, 970 F.2d 1017, 1026 (2d Cir. 1992)
(“A party with an affirmative goal and presumptive access to proof on a given issue normally has the burden of
proof as to that issue.”)); see also United States v. Clarke, No. 09 Cr. 705 (LAP), 2010 WL 4449443, at *1
(S.D.N.Y. Oct. 29, 2010) (“[I]f the defendant seeks decreased punishment, he or she has the burden of showing that
the circumstances warrant that decrease.” (quoting Butler, 970 F.2d at 1026)); cf. United States v. Hamilton, 715
F.3d 328, 337 (11th Cir. 2013).



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intervention serves several purposes. First, it protects administrative agency authority by

guaranteeing agencies the “opportunity to correct [their] own mistakes,” Woodford v. Ngo, 548

U.S. 81, 89 (2006) (quoting McCarthy v. Madigan, 503 U.S. 140, 145 (1992)). Second, it

promotes efficiency, since claims “generally can be resolved much more quickly and

economically in proceedings before an agency than in litigation in federal court.” Id.

         “The provenance of an administrative exhaustion requirement determines its scope.”

United States v. Monzon, No. 99cr157 (DLC), 2020 WL 550220, at *1 (S.D.N.Y. Feb. 4, 2020).

There are two types of exhaustion requirements: jurisdictional ones and non-jurisdictional ones.

Jurisdictional exhaustion requirements “govern a court’s adjudicatory authority” and are not

subject to any exceptions. Gonzalez v. Thaler, 565 U.S. 134, 141 (2012) (internal quotation

marks omitted). Non-jurisdictional requirements, also referred to as “claim-processing rules,”

can be “forfeited if the party asserting the rule waits too long to raise the point.” Kontrick v.

Ryan, 540 U.S. 443, 456 (2004). The Second Circuit has not yet squarely answered the question

of whether the exhaustion requirement of § 3582(c) is jurisdictional. 9 Monzon, 2020 WL

550220, at *2.




9
  Other courts of appeal are split on the question of whether section 3582(c) as a whole is jurisdictional or non-
jurisdictional. Compare United States v. Graham, 704 F.3d 1275, 1279 (10th Cir. 2013) (considering section
3582(c) a jurisdictional rule); United States v. Austin, 676 F.3d 924, 930 (9th Cir. 2012), United States v. Williams,
607 F.3d 1123, 1125–26 (6th Cir. 2010); United States v. Garcia, 606 F.3d 209, 212 n.5 (5th Cir. 2010); and United
States v. Auman, 8 F.3d 1268, 1271 (8th Cir. 1993), with United States v. May, 855 F.3d 271, 274–75 (4th Cir. 2017)
(considering section 3582(c) a claim-processing rule); United States v. Caraballo-Martinez, 866 F.3d 1233, 1245
(11th Cir. 2017); United States v. Taylor, 778 F.3d 667, 670 (7th Cir. 2015); and United States v. Weatherspoon,
696 F.3d 416, 421 (3d Cir. 2012). And while the Second Circuit has not weighed in on whether the exhaustion
requirement of section 3582(c)(1)(A) is jurisdictional, it has, “in a related context . . . firmly disagreed with the
characterization by certain other circuits that § 3582(c)(2) is jurisdictional.” United States v. Haney, No. 19-cr-541
(JSR), 2020 WL 1821988, at *2 (S.D.N.Y. Apr. 13, 2020) (citing United States v. Johnson, 732 F.3d 109, 116 n.11
(2d Cir. 2013)).



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               B.      Application

                       1. Exhaustion

       Here, the Warden of MDC has not made a motion for compassionate release on

Defendant’s behalf. Defendant acknowledges that he submitted his request to the Warden at

MDC on March 30, 2020, and that “30 days has yet to pass,” and requests that if I decide to

“defer ruling on this application until after the BOP’s determination (and any required

administrative appeals), or after 30 days from BOP’s receipt of Mr. Hart’s request,” that I

“release [him] pending a ruling on this motion.” (Hart Mot. ¶ 15.) In other words, Defendant

concedes that he filed his motion before the time period required by the language of the statute

had passed. (Id. (“Although BOP has yet to rule on the request (and 30 days has yet to pass), in

light of the time sensitive nature of this application we are filing this motion now so that the

Court has an opportunity to review the matter as quickly as possible.”)) I find his arguments in

favor of circumventing that statutory language unavailing.

       Regardless of whether section 3582(c) is a jurisdictional statute or a non-jurisdictional

claim-processing statute, its exhaustion requirement is clearly statutory and therefore mandatory.

See Monzon, 2020 WL 550220, at *2 (“It is unnecessary to resolve here whether § 3582(c)

creates a jurisdictional bar to the modification of Monzon’s sentence or simply sets forth a

statutory exhaustion requirement.”); United States v. Tyreek Ogarro, No. 18-cr-373-9 (RJS)

(Apr. 14, 2020), 2020 WL 1876300, *3 (“But regardless of whether the statute is jurisdictional or

a claim-processing rule, its exhaustion requirements are clearly mandatory.”). I am not

persuaded by Defendant’s argument that section 3582(c) does not create a mandatory

administrative exhaustion requirement. The language of the statute is clear on its face that a

court can only act if the BOP files a motion for compassionate release or “upon motion of the




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defendant after the defendant has fully exhausted all administrative rights to appeal a failure of

the Bureau of Prisons to bring a motion on the defendant’s behalf or the lapse of 30 days from

the receipt of such a request by the warden of the defendant’s facility, whichever is earlier.” 18

U.S.C. § 3582(c)(1)(A). This language does not leave room for court-made exceptions. See

United States v. Roberts, No. 18-cr-528 (JMF), 2020 WL 1700032, at *2 (S.D.N.Y. Apr. 8,

2020) (“Given Congress’s decision to mandate exhaustion and to specify a single alternative, the

Court is not free to infer a general ‘unwritten ‘special circumstances’ exception.’”) (quoting

Ross, 136 S. Ct. at 1857). I recognize that some of my colleagues have found otherwise. See

Russo, 2020 WL 1862294, at *3–7; Haney, 2020 WL 1821988, at *3–4; United States v. Perez,

No. 17 Cr. 513-3 (AT), 2020 WL 1546422, at *2–3 (S.D.N.Y. Apr. 1, 2020). Although I see the

logic of these decisions, and acknowledge that as a practical matter, in the present circumstances

30 days is a significant length of time for prisoners to have to wait before seeking judicial

relief, 10 I conclude that I am bound by the Supreme Court’s clear statement in Ross that

“mandatory exhaustion statutes . . . establish mandatory exhaustion regimes, foreclosing judicial

discretion.” 136 S. Ct. at 1857. Without more explicit guidance from Congress, the Supreme

Court, or the Second Circuit, I am not prepared to read an exception into the statute.

Accordingly, I join the “many other courts to have considered Section 3582(c)(1)(A)’s



10
  I agree with Judge Furman’s comments in Roberts that in general the exhaustion requirement in section 3582(c) is
appropriate since it permits the BOP, the entity generally in the best position, to assess a “‘defendant’s conditions,
the risk presented to the public by his release, and the adequacy of a release plan,’” while at the same time
permitting review by the courts after thirty days, thereby reflecting “congressional intent for the defendant to have
the right to a meaningful and prompt judicial determination of whether he should be released.” Roberts, 2020 WL
1700032, at *2 n.2 (quoting Russo, 2020 WL 1862294, at *1). However, as Judge Furman and other judges have
recognized, during the current COVID-19 pandemic, “30 days is anything but ‘exceptionally quick’ — indeed, each
day, perhaps each hour, that elapses ‘threatens incarcerated defendants with greater peril.’” Id. (quoting United
States v. Gross, No. 15-CR-769 (AJN), 2020 WL 1673244, at *2-3 (S.D.N.Y. Apr. 6, 2020) (quoting Russo, ECF
No. 54, at 5)). Therefore, I urge—as many of my colleagues have done—the BOP to expedite its decisions on
applications for compassionate release while COVID-19 presents an increased threat to certain members of its
prison population.



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exhaustion requirement and found it to be mandatory.” United States v. Demaria, No. 17 Cr.

569 (ER), 2020 WL 1888910, at *4 (S.D.N.Y. Apr. 16, 2020) (collecting cases); see also United

States v. Ogarro, No. 18-cr-373-9 (RJS), 2020 WL 1876300, at *2–5 (S.D.N.Y. Apr. 14, 2020);

United States v. Rabadi, No. 13-CR-353 (KMK), 2020 WL 1862640, at *3 (S.D.N.Y. Apr. 14,

2020).

                           2. Extraordinary and Compelling Circumstances

         In light of my decision that Defendant has not exhausted his administrative remedies, I

need not reach the issue of whether he has demonstrated extraordinary and compelling

circumstances. However, in order to provide guidance to the parties in anticipation of possible

future litigation, I will address this issue. For the reasons that follow, on the current record I do

not find that Defendant has met his burden of establishing that there exist extraordinary and

compelling reasons to reduce his sentence and grant his release.

         Asthma has been identified by the Centers for Disease Control as an illness that may

place individuals at increased risk of serious illness or death from COVID-19. See Groups at

Higher Risk for Severe Illness, Centers for Disease Control and Prevention (last reviewed April

17, 2020), https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-

risk.html. 11 However, despite asserting he “has a long history of suffering from asthma,” and

that “a physician recently diagnosed [him] with high blood pressure” the evidence Defendant has

submitted to support these illnesses and their connection to his risk profile is insufficient. With

regard to asthma, Defendant has not sufficiently demonstrated he has and is suffering from

asthma. The only evidence he has submitted to date besides conclusory statements in his



11
  Other sources, however, suggest asthma may not be a major risk factor for severe illness as a result of contracting
COVID-19. See Asthma is Absent Among Top Covid-19 Risk Factors, Early Data Shows, New York Times (Apr.
16, 2020), available at https://www.nytimes.com/2020/04/16/health/coronavirus-asthma-risk.html.



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submissions is a photograph attached to an April 3, 2020 email from counsel asserting that it

depicted Hart’s inhaler. In contrast, prior to his sentencing, Defendant told the Probation

Department that “he has been in good health his entire life,” (Hart Presentence Investigation

Report at ¶ 101), and the terms asthma and high blood pressure do not appear anywhere in

Defendant’s Presentence Investigation Report. In his reply submission, Defendant’s counsel

seems to acknowledge that the evidence submitted to date may be insufficient by stating that “the

defense is prepared to address the government’s claim that Mr. Hart’s medical condition[s]

coupled with the COVID-19 pandemic do not establish compelling and extraordinary reasons for

Mr. Hart’s release if the Court.” (Reply 5.)

        With regard to Defendant’s assertion that he has high blood pressure, the Government

concedes that “Hart’s own medical records do evidence some elevated blood pressure.” (Govt.

Opp. 4.) However, neither party has sufficiently demonstrated the extent of this condition or that

high blood pressure would place Defendant Hart, who is 39 years old, at increased risk of serious

illness or death if he were to contract COVID-19. The CDC website does list pulmonary

hypertension as a risk factor for severe illness; however, Defendant has not alleged that he

suffers from pulmonary hypertension. Recent news reports and data have indicated that

hypertension is the most common comorbidity among patients who have died of COVID-19 in

New York, 12 but when those patients are broken down by age, hypertension is only the top

comorbidity for patients over the age of 40. 13 Patients in Defendant Hart’s age bracket appear to


12
  See Asthma is Absent Among Top Covid-19 Risk Factors, Early Data Shows, (Apr. 16, 2020), available at
https://www.nytimes.com/2020/04/16/health/coronavirus-asthma-risk.html.
13
  According to the New York State Department of Health, hypertension is the top reported Covid-19 comorbidity in
New York State. See New York Department of Health, Covid-19 Tracker, Fatalities, (Apr. 17, 2020),
https://covid19tracker.health.ny.gov/views/NYS-COVID19-Tracker/NYSDOHCOVID-19Tracker-
Fatalities?%3Aembed=yes&%3Atoolbar=no&%3Atabs=n. While 46 of the 190 individuals aged 30 to 39 who have
died of COVID-19 in this state also had hypertension, those 190 individuals make up only 1.5 percent of New
York’s total fatalities, which number 12,192.



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have an extremely low risk of dying even if they have hypertension.

           Defendant also seeks compassionate release based upon changed family circumstances.

Here, Defendant has failed to demonstrate that his family circumstances have materially

changed. Defendant states that his wife was able to maintain employment because of “assistance

. . .from her sister and brother-in-law,” but that the brother-in-law recently passed away, “making

it impossible for [Defendant’s wife’s] sister . . . to continue to be able to care for [Defendant’s]

son.” (Hart Mot. 7.) The suggestion from Defendant’s submission is that Defendant’s sister-in-

law and her husband had been providing and/or assisting with the childcare for Defendant’s son.

However, Defendant fails to demonstrate how the circumstances have changed since his

sentencing or to substantiate through individuals with personal knowledge exactly the level of

care and assistance that was being provided prior to the death of Defendant’s wife’s brother-in-

law. Therefore, whether I consider these purported changed circumstances in isolation or in

combination with the purported other compelling and extraordinary reasons argued by

Defendant, I find that Defendant has failed to meet his burden of establishing that there exist

extraordinary and compelling reasons to reduce his sentence and grant his release.

                    Conclusion

           My decision in this case is based on the unique circumstances of Defendant Hart and the

context in which his motion has been made. For the reasons stated above, because (1) I find that

Defendant has not exhausted administrative remedies; and (2) I find that on the current record

presented to me that Defendant has not sufficiently established extraordinary and compelling

circumstances justifying the reduction in his sentence and his release from custody, Defendant’s

motion for compassionate release is DENIED. 14


14
     In making this finding, I do not suggest that the BOP is required to make a similar finding in part because my



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         Although I deny Hart’s motion, in part, due to his failure to exhaust his administrative

remedies, because of the COVID-19 pandemic and its impact on the BOP’s staff and inmate

population, I urge the BOP accelerate its consideration of Defendant’s request for compassionate

release. I direct the parties to provide this decision to the appropriate authorities within BOP so

that they can consider my request to accelerate their review of Defendant’s request for

compassionate release.

         Defendant Hart is directed to file his initial motion papers on the docket, or to seek

permission to file a redacted version of those papers. Because this Opinion & Order was decided

based on materials related to Defendant’s health or other information that should not be filed on

the public docket, the Opinion & Order will be filed under seal. The parties are directed to meet

and confer with regard to proposed redactions, and to propose redactions to me within the next

thirty (30) days. I will then review the proposed redactions and if appropriate, implement them

before filing the Opinion & Order on the public docket. If the parties do not submit proposed

redactions within thirty (30) days, I will file the Opinion & Order in its current form on the

public docket.

         If Defendant Hart renews his motion upon fulfillment of the conditions set forth in

section 3582, he and the government are directed to answer the following questions in their

submissions: (1) when was Defendant first diagnosed with asthma?; (2) when was he first

diagnosed with high blood pressure?; (3) what is believed to be the cause of his high blood



access to information about Defendant’s current health and medical history is limited and I have no insight into any
institutional considerations that might be relevant to BOP’s consideration of Defendant’s request for compassionate
release. As noted above, “the BOP is frequently in the best position to assess, at least in the first instance, a
defendant’s conditions, the risk presented to the public by his release, and the adequacy of a release plan.” Roberts,
2020 WL 1700032, at *2 n.2 (internal quotation marks omitted). Indeed, that is the very principle that animates the
exhaustion requirement. See id.




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pressure, if any?; (4) what medication(s), if any, has he been prescribed to treat the asthma; (5)

what medication(s), if any, has he been prescribed to treat the high blood pressure?; (6) if he has

been prescribed medications to treat the asthma and high blood pressure, when were those

medications first prescribed?; (7) does the BOP agree Defendant suffers from asthma and/or high

blood pressure?; (8) is the BOP providing prescription medication to Defendant for asthma, high

blood pressure, or any other health condition?; and (9) does having high blood pressure alone

place individuals in Defendant Hart’s age group at higher risk of serious illness or death from

COVID-19?.

         The Clerk of Court shall make this document viewable to Eric Mark Sears, Jacob

Mitchell, David Raymond Lewis, David Matthew Abramowicz, Dina McLeod, and Jilan Janet

Kamal.



SO ORDERED.

Dated:     April 23, 2020
           New York, New York
                                                                     _______________________
                                                                     Vernon S. Broderick




                                                     14
